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             a.    imprisonment for a period of not less than 15 years, and not more than life;

             b. a fine not to exceed the greater of $250,000.00 or twice the pecuniary gain to the

                  Defendant or pecuniary loss to the victim;

             c. a term of supervised release of not more than five years to follow any term of

                  imprisonment. (If the Defendant serves a term of imprisonment, is then released

                  on supervised release, and violates the conditions of supervised release, the

                  Defendant’s supervised release could be revoked — even on the last day of the

                  term — and the Defendant could then be returned to another period of

                  incarceration and a new term of supervised release.);

             d. a mandatory special penalty assessment of $100.00; and

             e. restitution as may be ordered by the Court.

       5.         The parties recognize that the federal sentencing guidelines are advisory, and that

the Court is required to consider them in determining the sentence it imposes.

                                  ELEMENTS OF THE OFFENSE

       6.         If this matter proceeded to trial, the Defendant understands that the United States

would be required to prove, beyond a reasonable doubt, the following elements for violations of

the charges listed below:

       Counts 1 and 2: 18 U.S.C. § 922(g)(1), that being, Possession of a Firearm by a

       Convicted Felon.

                  First: the defendant knowingly possessed a firearm and/or ammunition;

                  Second: the defendant was convicted of a felony, that is, a crime punishable by
                        imprisonment for a term exceeding one year, before he possessed the
                        firearm and/or ammunition; and

                  Third: the defendant knew that he had previously been convicted of a felony; and



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                 Fourth:before the defendant possessed the firearm and/or ammunition, the firearm
                        and/or ammunition had moved at some time from one state to another, or
                        from a foreign country to the United States.

                            DEFENDANT’S ADMISSION OF FACTS

        7.       By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize

and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge

that if I chose to go to trial instead of entering this plea, the United States could prove facts

sufficient to establish my guilt of the offense(s) to which I am pleading guilty beyond a

reasonable doubt, including any facts alleged in the information that increase the statutory

minimum or maximum penalties. I specifically admit the following facts related to the charges

against me, and declare under penalty of perjury that all of these facts are true and correct:

              a. On or about November 23, 2018, I, Luis Sanchez, admit that I knowingly

                 possessed one black Glock, 40 cal, serial # LWN642, and one Glock 40 cal

                 magazine with eight rounds of ammunition in San Miguel County, New Mexico.

                 This firearm was discovered when a search warrant was executed on my vehicle

                 on November 23, 2018. I possessed this firearm knowing that I had been

                 previously convicted of a felony offense. I also know that before I possessed this

                 firearm, it traveled from outside the state of New Mexico.

              b. On or about February 26, 2019, I, Luis Sanchez, admit that I knowingly possessed

                 one .380 caliber, model AT-380, ACCU-TEK pistol in San Miguel County, New

                 Mexico. This firearm was discovered when a search warrant was executed at my

                 residence on February 26, 2019. I possessed this firearm knowing that I had




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